       Case 21-11447                 Doc 14          Filed 01/06/22 Entered 01/06/22 23:14:58                       Desc Imaged
                                                    Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1
                       Dilya Rafiqzade                                             Social Security number or ITIN   xxx−xx−8237
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Northern District of Illinois

Case number:          21−11447


Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Dilya Rafiqzade
             fka Latipova Khosiyat


             January 4, 2022                                               For the court: Jeffrey P. Allsteadt, Clerk
                                                                                          United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.
However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                       For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 21-11447-ABG
Dilya Rafiqzade                                                                                                        Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 04, 2022                                               Form ID: 318                                                              Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 06, 2022:
Recip ID                   Recipient Name and Address
db                     +   Dilya Rafiqzade, 9213 Homestead Lane, Bridgeview, IL 60455-2211
29519587               +   ARS National Services, Inc, PO Boox 1259, Oaks, PA 19456-1259
29519596               +   Credit Control Services, PO Box 31179, Tampa, FL 33631-3179
29519602               +   MRS Associates, 1930 Olney Ave, Cherry Hill, NJ 08003-2016
29519603               +   NCB Management, PO Box 1099, Langhorne, PA 19047-6099
29519604               +   Radius Global, PO Box 390846, Minneapolis, MN 55439-0846
29519605               +   Rausch Sturm, 250 N Sunny Slope Rd Suite 300, Brookfield, WI 53005-4824
29519606               +   Sunrise Credit Services, Inc, PO Box 9100, Farmingdale, NY 11735-9100

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: FDRHERZOG.COM
                                                                                        Jan 05 2022 03:53:00      David R Herzog, David Herzog, Chapter 7
                                                                                                                  Trustee, Law Offices of David R Herzog, 53 W
                                                                                                                  Jackson Blvd, Ste 1442, Chicago, IL 60604-3536
29519584               + EDI: RMSC.COM
                                                                                        Jan 05 2022 03:53:00      Amazon, P.O. Box 960013, Orlando, FL
                                                                                                                  32896-0013
29519586               + EDI: AMEREXPR.COM
                                                                                        Jan 05 2022 03:53:00      American Express, PO box 981537, El Paso, TX
                                                                                                                  79998-1537
29519585               + EDI: AMEREXPR.COM
                                                                                        Jan 05 2022 03:53:00      American Express, Box 0001, Los Angeles, CA
                                                                                                                  90096-0001
29519589                   EDI: BANKAMER.COM
                                                                                        Jan 05 2022 03:53:00      Bank of America, PO Box 15019, Wilmington, DE
                                                                                                                  19886
29519590               + EDI: BANKAMER.COM
                                                                                        Jan 05 2022 03:53:00      Bank of America, PO Box 31785, Tampa, FL
                                                                                                                  33631-3785
29519588               + EDI: BANKAMER.COM
                                                                                        Jan 05 2022 03:53:00      Bank of America, PO Box 851001, Dallas, TX
                                                                                                                  75285-1001
29519591               + Email/Text: cms-bk@cms-collect.com
                                                                                        Jan 04 2022 22:51:00      Capital Management, 698 1/2 S. Ogden Street,
                                                                                                                  Buffalo, NY 14206-2317
29519594               + EDI: CITICORP.COM
                                                                                        Jan 05 2022 03:53:00      Citibank, PO Box 653095, Dallas, TX 75265-3095
29519595               + EDI: CITICORP.COM
                                                                                        Jan 05 2022 03:53:00      Citibank, PO Box 6241, Sioux Falls, SD
                                                                                                                  57117-6241
29519599               + EDI: CITICORP.COM
                                                                                        Jan 05 2022 03:53:00      Macys, PO Box 78008, Phoenix, AZ 85062
29519600               + EDI: CITICORP.COM
                                                                                        Jan 05 2022 03:53:00      Macys, PO Box 9001094, Louisville, KY 40292
29519597               + EDI: FSAE.COM
                                                                                        Jan 05 2022 03:53:00      First Source Advantage, 205 Bryant Woods South,
                                                                                                                  Buffalo, NY 14228-3609
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                                                    Certificate of Notice Page 4 of 4
District/off: 0752-1                                               User: admin                                                            Page 2 of 2
Date Rcvd: Jan 04, 2022                                            Form ID: 318                                                         Total Noticed: 25
29519598               + EDI: FSAE.COM
                                                                                   Jan 05 2022 03:53:00     FirstSource Advantage, PO Box 628, Buffalo, NY
                                                                                                            14240-0628
29519593                  EDI: JPMORGANCHASE
                                                                                   Jan 05 2022 03:53:00     Chase, PO Box 15123, Wilmington, DE 19886
29519592                  EDI: JPMORGANCHASE
                                                                                   Jan 05 2022 03:53:00     Chase, PO Box 15153, Wilmington, DE 19886
29524376               + EDI: RMSC.COM
                                                                                   Jan 05 2022 03:53:00     Synchrony Bank, c/o PRA Receivables
                                                                                                            Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                            23541-1021

TOTAL: 17


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
29519601           ##+           Monarch Recovery Mgmt, PO Box 21089, Philadelphia, PA 19114-0589

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 06, 2022                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 4, 2022 at the address(es) listed
below:
Name                              Email Address
Christina Banyon
                                  on behalf of Debtor 1 Dilya Rafiqzade cbanyon.law@gmail.com

David R Herzog
                                  drh@dherzoglaw.com dherzoglaw@gmail.com;il59@ecfcbis.com;drh@trustesolutions.net

Patrick S Layng
                                  USTPRegion11.ES.ECF@usdoj.gov


TOTAL: 3
